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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY




 SHAMIK VAKIL.
                 Plaint(ff.                                         Civil Action No. 13-00080
                                                                      AMENDED ORDER
         V.



 BAYER HEALTHCARE, LLC, BAYER
 CORPORATION, and BAYER HEALTHCARE
 PHARMACEUTICALS, INC.,
                 Defendants.




John Michael Vazguez, U.S.D.J.


        For the reasons set forth in the accompanying opinion and for good cause shown,


        IT IS on this 7” Day of December2016,


        ORDERED that Defendants’ motion for summary judgment is GRANTED; it is further


        ORDERED that the accompanying opinion (D.E. 87) shall be sealed for two weeks; if the

parties wish the opinion, or any portions thereof, to remain under seal they shall file a motion

setting forth the factual and legal basis for doing so; and it is ffirther

        ORDERED that the Clerk of the Court shall close this matter.



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                                                 John Micha& Vazquez, U.S.D.J.
